                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



ELIZABETH CALKINS,
                                                                        12-CV-11960
            Plaintiff,                                Civil Action No. _______________
v.

ASSOCIATED CREDIT SERVICES, INC.;
and
DOE 1-5

            Defendants.



                                           COMPLAINT

                                      (Jury Trial Demanded)

       1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                                 JURISDICTION AND VENUE

       2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Plaintiff is a resident within this District and Defendants

engaged in collection efforts against Plaintiff while Plaintiff so resided.




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                                             PARTIES

       3.      Plaintiff, ELIZABETH CALKINS (hereinafter “Plaintiff” or “Ms. Calkins”), is a

natural person residing in Pittsfield, Massachusetts. Defendant, ASSOCIATED CREDIT

SERVICES, INC., (hereinafter “Defendant”) is a Massachusetts corporation believed to maintain

its principle place of business at 115 Flanders Road Suite 140 in Westborough, MA. Plaintiff is

ignorant of the true names and capacities of the defendants sued herein as DOE 1-5, and

therefore sues these defendants by such fictitious names. Plaintiff will amend this Complaint to

allege the true names and capacities once ascertained. Plaintiff believes and thereon alleges that

the fictitiously named defendants are responsible in some manner for the occurrences herein

alleged, and that such defendants are responsible to Plaintiff for damages and/or monies owed.

Defendants ASSOCIATED CREDIT SERVICES, INC. and DOE 1-5 shall be jointly referred to

as “Defendants” herein.

       4.      Defendants regularly operate as third-party debt collector and are “debt

collectors” as defined in 15 U.S.C. 1692a.



                                 FACTUAL ALLEGATIONS

       5.      Defendants engaged in debt collection efforts in an attempt to collect a consumer

debt alleged owed by Ms. Calkins.

       6.      Ms. Calkins was staying at her mother’s home temporarily while she attempted to

improve her financial situation. Defendants would call the home phone number of Ms.

Calkins’s mother and leave collection-type messages. At no point in time did Ms. Calkins

authorize Defendants to communicate with her mother regarding the alleged debt or any other

matter. The sole phone in the house is situated in the mother’s room with a conventional-type




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answering machine. On October 24, 2011, Defendants left a message for Ms. Calkins, which

was overheard by her mother while in her room. The content of the message is substantially as

follows:

       “Elizabeth J Calkins. If you are not Elizabeth J Calkins, please hang up or
       disconnect now. If you are Elizabeth J Calkins, please continue to listen to this
       message. There will now be a 3-second pause in this message. By continuing to
       listen to this message you acknowledge you are Elizabeth J Calkins. Elizabeth J
       Calkins, you should not listen to this message so that other people can hear it, as it
       contains personal and private information. There will now be a 3-second pause in
       this message to allow you to listen to this message in private.

       This call is from Associated Credit Services. This is an attempt to collect a debt,
       and any information obtained will be used for that purpose. Please call us toll-free
       at 1-800-962-9898, Monday through Thursday 8AM until 9PM Eastern Standard
       Time, Friday 8AM until 5PM Eastern Standard Time, or Saturday 8AM until
       12PM Eastern Standard
       Time. When you call, please quote reference number 8391323. Thank you for
       your prompt attention to this matter.”



       7.     Ms. Calkins, being unable to cope with the collection calls which were

disturbing to both her and her mother, obtained counsel with Robert Amador of

Centennial Law Offices.

       8.     On January 10, 2012, Mr. Amador contacted Defendants by telephone,

advised them that Ms. Calkins was representated by counsel, and provided his contact

information. Defendants confirmed that they had an account in collection and provided

Mr. Amador with a reference number of 8391323.

       9.     On January 27, 2012, Defendants sent Ms. Calkins a collection letter

which contained the reference number of 8391323.




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                                      CAUSES OF ACTION

                                             COUNT I

       10.      Plaintiff re-alleges paragraphs 1 through 9, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692d(6) and 1692(e)11

with regards to Plaintiff as follows: In their messages to Plaintiff, Defendants failed to identify

the name of the individual placing or otherwise responsible for the calls.



                                            COUNT II

       11.      Plaintiff re-alleges paragraphs 1 through 9, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(b) with regards to

Plaintiff by communicating to an unauthorized third-party in connection with the collection of

the DEBT.

                                            COUNT III

       12.      Plaintiff re-alleges paragraphs 1 through 9, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692c(a)(2) with regards to Plaintiff as

follows: Defendants continued to make collection calls to Plaintiff after they had actual

knowledge that Plaintiff was represented by counsel.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays judgment against Defendant for recovery, each count in

the alternative, as follows:

       1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

       2.) For actual damages of $2,555.00 for legal costs in responding to unlawful collection

       activity.

       3.) For prejudgment interest in an amount to be proved at time of trial;

       4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k)

       5.) For the costs of this lawsuit; and

       6.) For any other and further relief that the court considers proper.



                                         JURY DEMAND



       Plaintiff demands a jury trial.




Date: October 22, 2012                          /s/ M. Ronald Mendes
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